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   14                           UNITED STATES DISTRICT COURT

   15                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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        PFIZER INC.,                                      Civil Action No. 3:21-cv-1980-CAB-JLB
                                                                           ___________________
   17
                                             Plaintiff,
                                                          DECLARATION OF DAN MEYER
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                       - against -                        IN SUPPORT OF PLAINTIFF’S
   19                                                     MOTION FOR A TEMPORARY
        CHUN XIAO LI and DOES 1-5,                        RESTRAINING ORDER AND
   20                                                     PRELIMINARY INJUNCTION
                                          Defendants.
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   1    I, Dan Meyer, pursuant to 28 U.S.C. § 1746, declare as follows:
   2           1.      I am over the age of eighteen and make this Declaration In Support of
   3    Plaintiff’s Motion for a Temporary Restraining Order and Preliminary Injunction
   4    dated November 23, 2021, based on personal knowledge and experience. If called
   5    as a witness, I could and would testify to such facts under oath.
   6           2.      I started working for Pfizer Inc. (“Pfizer”) 24 years ago as Head of
   7    Nonclinical Statistics and am now Vice President and Head of Oncology Statistics.
   8    My current responsibilities at Pfizer include oversight of statistical activities for all
   9    later stage oncology clinical trials and regulatory submissions. For the last three
   10   years, I have also been serving as a Council Member to the New England
   11   Statistical Society, where I help to organize the annual New England Rare Disease
   12   Statistics Workshop. Prior to joining Pfizer, I worked at Lubrizol Corporation for
   13   almost 12 years as a manager of statistics in its research and development group. I
   14   hold a Ph.D. in Statistics from the University of Wisconsin-Madison and an
   15   undergraduate degree in Mathematics from University of California – Santa
   16   Barbara.
   17          3.      In my 24 years at Pfizer, I have witnessed incredible achievements.
   18   For example, as the COVID-19 pandemic spread globally, Pfizer decided that it
   19   had a moral and scientific imperative to develop and bring to the public a vaccine
   20   as quickly as possible. On March 17, 2020, Pfizer signed a letter of intent to
   21   partner with BioNTech to co-develop an mRNA-based coronavirus vaccine
   22   program, BNT162, aimed at preventing COVID-19 disease. The collaboration
   23   leverages Pfizer’s expertise in vaccine research and development, regulatory
   24   capabilities, and global manufacturing and distribution network.
   25          4.      To date, Pfizer has invested over $2 billion of its own capital to
   26   develop its COVID-19 vaccine and has dedicated hundreds of Pfizer scientists,
   27   strategists, and other personnel to the COVID-19 vaccine effort. By risking its
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   1    own investment rather than relying on government funds, Pfizer could be more
   2    nimble in the development of the vaccine.
   3           5.      The speed at which Pfizer was able to develop and gain approval of its
   4    vaccine was not due only to pandemic-related efforts and spending. Rather, Pfizer
   5    had recently reorganized its research and development arm into biotech-like
   6    subdomains, allowing for better start-to-finish ownership of new products, like the
   7    COVID-19 vaccine. Moreover, Pfizer leveraged its prior breakthrough innovations
   8    in the antiviral space to create the COVID-19 vaccine in record time.
   9           6.      Since March 2020, Pfizer conducted numerous clinical trials and
   10   made various regulatory submissions in collaboration with BioNTech, in an effort
   11   to obtain emergency use authorization for the vaccine from the Food and Drug
   12   Administration (“FDA”). The FDA so authorized the Pfizer-BioNTech COVID-19
   13   vaccine on or about December 11, 2020, making it the first COVID-19 vaccine
   14   available to the general public. The FDA has since fully approved the vaccine for
   15   individuals 16 and older and has extended emergency use authorization for
   16   children as young as five years old. Needless to say, Pfizer’s vaccine has been a
   17   huge medical and commercial success
   18          7.      The COVID-19 vaccine has rightfully garnered significant praise and
   19   recognition around the world, but it should not overshadow the important work
   20   Pfizer does in other fields. For example, Pfizer is a world leader in the research
   21   and development of monoclonal antibodies that combat rare and debilitating
   22   diseases.
   23          8.      In general, a body’s immune system attacks foreign substances by
   24   generating a large number of antibodies, which are proteins that bind to certain
   25   targets in the body such as antigens that cause infections. Once an antibody
   26   attaches to an antigen, it triggers the body’s immune system to target and destroy
   27   cells containing that antigen. A monoclonal antibody is an antibody made in a
   28   laboratory that is designed to bind to a specific antigen, such as an antigen on the

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   1    surface of a particular cancer cell. Once the monoclonal antibody binds to the
   2    cancer cell, the body begins targeting and destroying cells like it. Monoclonal
   3    antibodies may also be designed to target immune system cells to increase their
   4    activity against cancer cells.
   5           9.      One of the greatest challenges with respect to developing monoclonal
   6    antibodies is identifying the right antigen to target. It takes years of research and
   7    development, trial and error work, and hundreds of millions of dollars in
   8    investment capital to investigate a potential new monoclonal antibody. Most
   9    investigational monoclonal antibodies turn out to be failures, and the few that make
   10   it past early phase studies require even more resources and capital to bring to
   11   market. Simply stated, finding the right antigen to target and developing a
   12   compatible monoclonal antibody requires absolute precision; anything short of that
   13   would fail to improve patients’ health and could even prove fatal.
   14          10.     In 2014, Pfizer entered into an agreement with Merck KGaA to co-
   15   develop avelumab, a groundbreaking monoclonal antibody now sold under the
   16   tradename Bavencio. Avelumab is FDA-approved drug to treat a specific type of
   17   cancer in the bladder or urinary tract called urothelial carcinoma (UC) when it has
   18   spread or cannot be removed by surgery. It is also approved for patients with a
   19   rare and aggressive form of skin cancer called Merkel cell carcinoma. Pfizer is
   20   currently researching whether avelumab could treat other forms of cancer, and
   21   whether avelumab could be effectively combined with other drugs. Pfizer has
   22   invested over millions of dollars in the research and development of avelumab and
   23   as a direct result has saved countless lives.
   24          11.     Following in the footsteps of avelumab, Pfizer scientists discovered
   25   and began developing elranatamab, a bispecific monoclonal antibody. Bispecific
   26   monoclonal antibodies are antibodies that can simultaneously bind to two different
   27   types of antigens or two different target sites on the same antigen. Pfizer scientists
   28   believe elranatamab could be effective in treating multiple myeloma, a rare blood

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   1    cancer that affects plasma cells made in the bone marrow. There is currently a
   2    high unmet medical need for treating multiple myeloma, and Pfizer is in a race
   3    with its competitors to develop more advanced treatments. Recently, the FDA
   4    granted elranatamab Fast Track Designation, which is a process designed to
   5    facilitate the development, and expedite the review, of new drugs and vaccines that
   6    are intended to treat or prevent serious conditions that have the potential to address
   7    an unmet medical need. To date, Pfizer has invested millions of dollars in the
   8    research and development of elranatamab, as it hopes elranatamab will prove to be
   9    the company’s next blockbuster drug.
   10          12.     In my role as Vice President and Head of Oncology Statistics at
   11   Pfizer, I oversee all statistical activities for oncology development in Pfizer’s
   12   Global Product Development (“GPD”) group, which is responsible for evaluating
   13   drug efficacy and safety in human clinical trials to obtain regulatory approval for
   14   drugs. Chun Xiao (Sherry) Li is in the GPD group.
   15          13.     GPD employees are well aware of their obligations to safeguard Pfizer
   16   confidential information. In addition to supervisors constantly issuing reminders
   17   about confidentiality at meetings and discussions, Pfizer conducts periodic
   18   trainings designed to ensure that employees are aware of the policies and
   19   expectations around data security. For example, GPD employees are required to
   20   take a course titled “Collaborate Securely: Safeguarding Sensitive Pfizer
   21   Information” that details the importance of safeguarding Pfizer confidential
   22   information. GPD employees must also take trainings on the “Blue Book,” the
   23   Pfizer employee manual, which includes reminders about Pfizer’s corporate
   24   policies regarding safeguarding sensitive information.
   25          14.     Given her role and responsibilities as Associate Director of Statistics,
   26   Ms. Li had access to highly confidential, proprietary, and trade-secret information
   27   related to numerous vaccines and medications, including the COVID-19 vaccine,
   28   avelumab, and elranatamab. I have been informed that between October 23, 2021

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   1    and October 26, 2021, Ms. Li transferred a large number of files from her Pfizer
   2    laptop to a personal Google Drive account and then downloaded those files to
   3    personal devices. I understand that she did this without Pfizer’s permission, and
   4    while also considering an offer of employment from Xencor, Inc., which is one of
   5    Pfizer’s competitors.
   6           15.     I have reviewed some of the documents Ms. Li transferred, and they
   7    contain highly confidential Pfizer information, including information related to the
   8    COVID-19 vaccine, avelumab, elranatamab, and other Pfizer innovations. Below I
   9    summarize four such documents. Based on my years of experience in the industry,
   10   these documents could be particularly beneficial to Pfizer’s competitors.
   11          16.     The first document is a September 24, 2021 presentation titled “E2E
   12   Clinical Development + Submissions Playbook.” This 101-page presentation
   13   reflects, among other things, Pfizer’s analysis of the successes and breakthroughs
   14   of Pfizer’s COVID-19 vaccine studies, end-to-end recommendations based on the
   15   COVID-19 vaccine studies, analysis concerning why the Pfizer and BioNTech
   16   relationship was successful compared to other partnerships, and the identification
   17   of critical data variables for drug studies and ways to manage them. As the
   18   document’s title reflects, it is literally an end-to-end playbook for clinical
   19   development and submissions based on the successes of Pfizer’s COVID-19
   20   vaccine studies. The proprietary information contained in this document would
   21   provide a substantial business advantage to a competitor, and the loss of this
   22   information to a competitor would cause Pfizer significant and irreparable harm.
   23   To disclose it a competitor would significantly undermine Pfizer’s ability to be
   24   first-to-market for subsequent vaccines and other pharmaceutical innovations and
   25   cause an incalculable loss of revenues and market share.
   26          17.     The second document is a February 21, 2021 presentation titled
   27   “Pfizer Oncology Virtual Hematology Franchise Year Beginning Meeting.” This
   28   67-page presentation contains, among other things, operational goals, key

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   1    achievements and key goals for various drugs, development plans and timelines,
   2    key next steps for elranatamab, a clinical development overview for elranatamab,
   3    and key strategies for elranatamab and other drugs.
   4           18.     The third document is a July 6, 2021 “Clinical Development Plan
   5    Document.” This 114-page document details Pfizer’s development plans for
   6    combining Pfizer’s encorafenib and binimetinib to treat melanoma. The document
   7    discusses Pfizer’s clinical development strategy, rationales, target product profiles,
   8    key elements of statistical analysis, global strategy, pediatric strategy, timelines, as
   9    well as a plethora of other highly sensitive information.
   10          19.     The fourth document is a February 20, 2019 presentation titled
   11   “Avelumab Case Study – Implementation of BLRM in Oncology Dose Finding
   12   Trials with Multiple Drug Combinations.” This 23-page presentation discusses,
   13   among other things, Pfizer’s approach to implementing the Bayesian Logistic
   14   Regression Model in studies with multiple drug combination, challenges in
   15   designing Phase 1 drug combination studies, dosing strategies for drug
   16   combinations, implementation issues, and specifics related to the design and
   17   decision processes related to Pfizer’s Phase 1 avelumab studies.
   18          20.     The proprietary information contained in the second, third, and fourth
   19   documents described above would provide a substantial business advantage to a
   20   competitor, and the loss of this information to a competitor would cause Pfizer
   21   significant and irreparable harm. Indeed, to disclose to a competitor Pfizer’s
   22   operational goals, its perception of key achievements, its development plan and
   23   timelines, and the like would be extremely damaging to Pfizer. Among other
   24   things, it would give Pfizer’s competitors insight into its next moves and enable
   25   them to implement Pfizer’s institutional knowledge and winning strategies learned
   26   over decades of research and development.
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